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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

                                                      :
IGOR VEDERNIKOV, on behalf of himself                 :
and all others similarly situated,                    :
                                                      :
                      Plaintiffs,                     :   Case No. 3:18-cv-15217 (BRM)(LHG)
                                                      :
v.                                                    :               ORDER
                                                      :
LTD FINANCIAL SERVICES, L.P.                          :
and JOHN DOES 1-25,                                   :
                                                      :
                      Defendants.                     :
                                                      :

        THIS MATTER is before the Court on Motion for Summary Judgment (ECF No. 8) filed

by Defendant LTD Financial Services, L.P. (“LTD”). Plaintiff Igor Vedernikov (“Vedernikov”)

opposes the motion. (ECF No. 9.) Having reviewed the parties’ submissions filed in connection

with the motions and having declined to hold oral argument pursuant to Federal Rule of Civil

Procedure 78(b), for the reasons set forth in the accompanying Opinion, and for good cause shown,

        IT IS on this 22nd day of January 2020,

        ORDERED that LTD’s Motion for Summary Judgment (ECF No. 8) is GRANTED and

it is further

        ORDERED that the matter will be marked CLOSED.


                                                             /s/ Brian R. Martinotti___________
                                                             HON. BRIAN R. MARTINOTTI
                                                             UNITED STATES DISTRICT JUDGE




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